                                        Case 3:24-cr-00513-PHK           Document 36       Filed 05/08/25       Page 1 of 3




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                     SAN FRANCISCO DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,
                                                                                            Case No. 24-cr-00513-PHK-1
                                   9                    Plaintiff,
                                                                                            FINAL PRETRIAL CONFERENCE
                                  10             v.                                         ORDER

                                  11     PATRICIA DZIB CAMAS,
                                  12                    Defendant.
Northern District of California
 United States District Court




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                                  14          Patricia Dzib Camas (“Defendant”) is charged with two Class B misdemeanors: (1) driving

                                  15   under the influence of alcohol, in violation of 36 C.F.R. § 4.23(a)(1); and (2) operating a motor

                                  16   vehicle with a blood alcohol content (“BAC”) of .08 percent or greater, in violation of 36 C.F.R.

                                  17   § 4.23(a)(2). A bench trial is set to commence on June 5, 2025 at 9:00 a.m.; the Final Pretrial

                                  18   Conference is set for May 15, 2025 at 1:00 p.m.

                                  19          Having reviewed the Parties’ Pretrial Conference Statements, and pursuant to Federal Rule

                                  20   of Criminal Procedure 17.1, the Court ORDERS as follows:

                                  21      1) In advance of the Final Pretrial Conference, the Parties shall exchange, by email, lists of

                                  22          exhibits they each intend to introduce into evidence at trial and shall also exchange lists of

                                  23          witnesses they each intend to call at trial. The Government shall provide its list of exhibits

                                  24          and witnesses to Defendant by no later than May 8, 2025; Defendant shall provide her list

                                  25          of exhibits and witnesses to the Government by no later than May 9, 2025.

                                  26      2) After exchanging exhibit lists, the Parties shall promptly meet and confer in good faith to

                                  27          attempt to reach stipulation and agreement as to foundation, authentication, and

                                  28          admissibility of both Parties’ exhibits (or as many of them as possible). Any such
                                       Case 3:24-cr-00513-PHK         Document 36         Filed 05/08/25      Page 2 of 3




                                   1       stipulation SHALL be filed by close of business on May 14, 2025. The Parties SHALL

                                   2       file their final exhibit lists and witness lists with the Court by no later than May 14, 2025.

                                   3       To the extent that the Parties have any barriers to reaching agreement on any such

                                   4       documents, they SHALL be prepared to discuss such issues at the Final Pretrial

                                   5       Conference.

                                   6    3) After exchanging witness lists, the Parties shall promptly meet and confer in good faith to

                                   7       discuss any objections to the opposing side’s witnesses and to attempt to resolve any such

                                   8       objections. The Parties shall also meet and confer to discuss reaching agreement on a

                                   9       pretrial date and time for disclosure under 18 U.S.C. § 3500 by the Government of any

                                  10       witness statement in the possession of the Government which relates to the subject matter

                                  11       as to which the witness will testify at trial. To the extent that the Parties are unable to

                                  12       resolve any disputes as to any witnesses, they SHALL be prepared to discuss such issues
Northern District of California
 United States District Court




                                  13       at the Final Pretrial Conference.

                                  14    4) Lead trial counsel for each Party SHALL attend the Final Pretrial Conference. Defendant

                                  15       SHALL attend the Final Pretrial Conference, unless Defendant files, on or before May 14,

                                  16       2025, a waiver of her right to be present at the Final Pretrial Conference, executed by both

                                  17       Defendant and her counsel, which shall include averment that Defendant was advised of

                                  18       her right to attend by counsel and voluntarily chose not to exercise that right.

                                  19    5) Pursuant to Federal Rule of Criminal Procedure 17.1, no admissions against interest made

                                  20       by Defendant or her attorney at the Final Pretrial Conference shall be used against

                                  21       Defendant, unless any admissions sought to be so used against Defendant are reduced to

                                  22       writing and signed by Defendant and her attorney.

                                  23    6) The Final Pretrial Conference will be recorded using the Court’s audio recording system,

                                  24       from which the Parties may order a transcript.

                                  25    7) Any stipulations and agreements arrived at shall be entered solely for use in this case and

                                  26       will not be binding or usable by any Party hereto in any other case or proceeding.

                                  27    8) At the Final Pretrial Conference, the Parties SHALL be prepared to discuss procedures for

                                  28       the trial, including but not limited to:
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                                        Case 3:24-cr-00513-PHK          Document 36         Filed 05/08/25     Page 3 of 3




                                   1             •   Marking for identification the various exhibits to be offered into evidence by each

                                   2                 Party.

                                   3             •   Waivers of foundation as to such documents will be secured if possible and

                                   4                 agreements reached as to authentication and admissibility.

                                   5             •   The timing of supplying Defendant with Jencks Act statements prior to the

                                   6                 testimony of each Government witness.

                                   7             •   Confirmation of both Parties’ prior representations to the Court that neither side

                                   8                 requests (and thus both Parties waive requesting) detailed findings of fact under

                                   9                 Federal Rule of Criminal Procedure 23(c), and therefore confirming that the Court

                                  10                 will not need to set a due date for the Parties to file proposed findings of fact and

                                  11                 conclusions of law.

                                  12             •   Any other issues affecting trial, including any unexpected motions.
Northern District of California
 United States District Court




                                  13      9) Following the Final Pretrial Conference, the Parties SHALL prepare a stipulation and

                                  14         proposed order, for signature by Defendant, her attorney, the United States Attorney, and

                                  15         the Court, summarizing the stipulations and agreements reached at the Conference.

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                                  17   IT IS SO ORDERED.

                                  18   Dated: May 8, 2025

                                  19                                                   ______________________________________
                                                                                       PETER H. KANG
                                  20                                                   United States Magistrate Judge
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